



















NUMBERS
13-04-505-CV
13-05-076-CV

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI - EDINBURG
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ROBERTO ALONZO, ET AL.,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant,

v.

SOUTHWESTERN REFINING COMPANY, INC.,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellees.
_____        _________________________________________________________

On appeal from the 117th  District Court
of Nueces County, Texas.
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MEMORANDUM OPINION

Before Justices Hinojosa, Yañez, and Garza
Memorandum Opinion Per Curiam

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellants, ROBERTO ALONZO, ET AL., perfected an appeal from a judgment
entered by the 117th District Court of Nueces County, Texas, in cause number 00-04225-B.  Appellee, Southwestern Refining Company, Inc., has filed a motion to
dismiss the appeal as to Southwestern Refining Company, Inc. only.  Appellee states
that it was not a party to the underlying cause at the time the orders made the basis
of this appeal were entered by the trial court.  Accordingly, appellee requests that this
Court dismiss the appeal as against appellee Southwestern Refining Company, Inc.
only.  Appellants’ appeal against appellee,  Southwestern Refining Company, Inc., is
severed from the original appeal and is docketed under cause number 13-05-076-CV.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Having considered appellee’s motion to dismiss the appeal and the documents
on file, this Court is of the opinion that the motion should be granted.  The motion to
dismiss appellants’ appeal against appellee, Southwestern Refining Company, Inc. , is
hereby granted.  The appeal against appellee, Southwestern Refining Company, Inc.,
in cause number 13-05-076-CV is ordered DISMISSED.  The remaining issues in the
appeal will remain docketed under cause number 13-04-505-CV.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM

Memorandum Opinion delivered and filed this
the 17th day of February, 2005.


